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 5                         IN THE UNITED STATES DISTRICT COURT
 6                                   FOR THE DISTRICT OF ARIZONA
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 8       Arizona Broadcasters Association, et al.,       No. CV-22-01431-PHX-JJT
 9                     Plaintiffs,                       ORDER
10       v.
11       Mark Brnovich, et al.,
12                     Defendants.
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14             Pursuant to the Parties’ Joint Request for Status Conference (Doc. 45),
15             IT IS HEREBY ORDERED granting the Parties’ Joint Request for Status
16   Conference (Doc. 45).
17             IT IS FURTHER ORDERED setting a telephonic1 status conference on
18   October 20, 2022, at 10:00 AM (Arizona time) in Courtroom 505, 401 W. Washington
19   Street, Phoenix, AZ 85003 before Judge John J. Tuchi.
20             Dated this 7th day of October, 2022.
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22                                            Honorable John J. Tuchi
                                              United States District Judge
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       Since the outset of the COVID-19 pandemic, civil hearings before Judge Tuchi are being
     held telephonically. Counsel or self-represented parties have the option to appear in person.
28   Chambers will e-mail counsel and self-represented parties call-in information, at which time
     they can inform the Court via reply e-mail if they will appear in person or telephonically.
